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A() 91 (Ro   I:11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Middle District of Alabama

                  United States of America
                             v.
                  D'Iivro Lemat Beauchamp
                                                                         CaseNo.                          IN -Sru)

                          DeJendant(st


                                             CRIMINAL COMPLAINT

          I, the complainant in this case, state that the follow ing is true to the best of rny knowledge and belief.
On or about the date(s) of                 July 22, 2020                 in the county of              Montgomery         in the
        Middle         District of         Alabama            , the defendant(s) violated:

             Code Section                                                   Qtfense Description
Title 21 United States Code,                 Unlawful Distribution of a Controlled Substance
Section 841 (a)(1)




          This crirninal complaint is based on these facts:

Please see attached Affidavit




          91 Continued on the attached sheet.



                                                                                             Co      ainant s signature

                                                                                  Special Agent Darryl W. Henton, DEA
                                                                                             Printed name and title

Sworn to before rne and signed in my presence.


Date:            07/22/2020                                                /s/ Susan Russ Walker
                                                                                                  Judge's signature

City and state:                    Montgomery, Alabama                          Susan R. Walker, U.S. Magistrate Judge
                                                                                             Printed name and title
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                     AFFIDAVIT IN SUPPORT OF APPLICATION FOR
                              CRIMINAL COMPLAINT

       I. Darryl W. Henton, being first duly sworn, hereby depose and state as follows:

                          INTRODUCTION AND AGENT BACKGROUND

        1.      I makc this affidavit in support of an application for the issuancc of a criminal

complaint to arrest Dr. D'livro Lemat Beauchamp for violations of 21 U.S.C. § 841(01).

       2.       1 am an investigator or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510, that is, an officer of the United States

who is empowered by law to conduct investigations and to rnake arrests for offenses enumerated

in Title 18, United States Code, Section 2516. 1 have been a special agent of the Drug

Enforcement Administration (DEA)since Novernber of 1997. Prior to becoming a special agent,

I was a state of Alabama. City of Mobile, Alabama police officer from Novernber of 1985 to

November of 1997. I also obtained a Bachelor of Science degree in criminal justice and a

master's degree in public administration from Troy State University in Troy, Alabama.

Pursuant to my employment with the DEA,1 have investigated criminal violations of federal

drug laws and related offenses, including. but not limited to, violations of Title 21, United States

Code, Sections 841, 843, 846. 848. 856 952. 960, and 963, and Title 18, United States Code.

Sections 1952 and 1956. 1 am familiar with, and have employed, all normal methods of

investigation, including., but not lirnited to, visual surveillance, electronic surveillance, informant

interviews, interrogation, and undercover operations.

       3.      This affidavit is intended to show merely that there is sufficient probable cause

for the requested complaint and does not set forth all of rny knowledge about this rnatter.
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       4.      Based on my training and experience and the facts set forth in this affidavit, there

is probable cause to believe that violations of 21 U.S.C. § 841 have been committed by Dr.

D'livro Lernat Beauchamp.

                                     PROBABLE CAUSE

A.     Background Information

       5.      I know, from the investigation described below, that Beauchamp is currently a

physician licensed to practice medicine by the state of Alabama and practicing in Montgomery.

Alabama. According to records maintained by the Alabama Board of Medical Examiners

(ABME), Beauchamp obtained his Alabama Medical License on or about August 28, 1996.

Since that time, to the best of my knowledge, he has practiced continuously in Alabarna (with the

exception of a brief respite from his practice during the COVI D-19 pandemic).

       6.      Based on a review of publicly available databases maintained by the Alabama

Secretary of State, 1 know that, on or about July 7, 2003, someone registered with the state of

Alabama Obelisk Healthcare. L.L.C. Currently, Beauchamp is the sole member and registered

agent of Obelisk Healthcare, L.L.C. The address provided for the business is 4705 Woodrnere

Blvd., Montgomery, AL 36106. The original `'Nature of Business" reported to the Secretary of

State was:"PROMOTE/DISTRIBUTE/RECORD/MFG/RETAIL/SELL

CLOTHING/MUSICAL ITEMS." On or about April 20, 2011, according to the database, the

purpose changed to "MEDICAL PRACTICES."'

       7.      I know, from review of DEA records, that, on or about January 15, 1997, the DEA

assigned to Beauchamp DEA registration BB5182I24. This registratim has been continuously

renewed since that date. The last renewal occurred on or about June 28, 2017. At the tirne of the

renewal. the address provided to be associated with the DEA registration number was 4705



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Woodrnere Boulevard. Montgomery, Alabama 36106. According to the DEA records, with this

ree,istration nurnber. Beauchamp is authorized by the DEA to prescribe drugs in schedules 2. 2N,

3, 3N, 4, and 5.

       8.      I know, based on surveillance performed by an agent working with me, that

Beauchamp currently practices at a building located at 4705 Woodrnere Boulevard,

Montgornery, Alabama 36106. The signage on the glass front door of the building lists the

practice as "Obelisk Healthcare.- l also know that, on the website for Obelisk Healthcare,

L.L.C., obeliskhealthcare.com, Beauchamp is listed as the lead physician and the practice is

listed as beiniz located at 4705 Woodmere Boulevard.      This website remains currently

accessible as of July 17, 2020.

       9.      The website (obeliskhealthcarc.com) dcscribcs Obelisk Healthcare as being

-designed to meet all your primary health care needs by providing routine and minor emergency

care for the entire family.- The website goes on to state that prospective patients ''simply coine

in any time [they] need medical care." Based on this statement, I infer that, at least at the time

the website was published. Beauchamp s practice was a primary care practice.

        10.    The website (obeliskhealthcare.com) describes Beauchamp as -a Board-Certified

Physician of Urgent Care Medicine." lt further states that Beauchamp -began practicing

medicine in Montgomery, Alabama in 1996' and that'11* plays an active role in providing

state-of-the-art services for primary and urgent care to the entire Montgomery, Alabama area."

       11.     I am not aware of Beauchamp practicing medicine in any location other than 4705

Woodmere Boulevard in Montgornery. However, I know that he also operates some form of

medical-spa practice located at the same addrcss-4705 Woodmere Boulevard. That business is

referred to as "Symmetry MedSpa- and maintains a website for that business.



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syrnmetryrnedspa.corn. That website remains accessible as of July 17, 2020. According to the

website for Symmetry MedSpa, the practice **provides everything from liposuction to laser hair

removal, to treatrnents for cellulite and more.- The website goes on to state that -Dr. D'livro

Beauchamp, Medical Aesthetician. and his professional team provide expert services and

treatments to give you a more youthful and rejuvenated appearance.- I do not know how long

Beauchamp has operated Syrnrnetry MedSpa. Nothing on the website for Symmetry MedSpa

indicates that, as part of his practice through that entity, Beauchamp provides long-term

prescriptions for chronic pain conditions.

B.      Fe bruazy 10,2020 Initial Receipt oflntelligence from Source of Information

         12.     In early 2020. 1 spoke with an investigator employed by the ABME. During that

conversation. I asked the investigator whether the ABME had or was currently conducting an

investigation of Beauchamp. The investigator informed me that in fact, he had recently received

a call from a source of information who was in a unique position to provide intelligence about

Beauchamp's medical practice. Based on his receiving of this information, the investigator had

opened an investigation of Beauchamp.

         13.     Subsequently, on February 10, 2020. l spoke, over the telephone. with this person

in a unique position to provide intelligence about Beauchamp's medical practice. I will refer to

this person, throughout the rernainder of this affidavit as -SOI-1.-1 During the telephone call,

S01-1 stated that she/he wished to provide information about Beauchamp and his practice, which

she/he identified as being located at 4705 Woodmere Boulevard, Montgomery, Alabama 36106.

She/E le stated that Beaucharnp practices at this location and that he is the only physician who

does so. At his practice, according to S01-1. Beauchamp prescribes Schedule II opioid


          'After February 10, 2020, SO1-1 became a DEA informant. She/He has sin ce been deactivated. To be
clear, at the time SO1- I provided in itial information about Beauchamp,she/he was not a DEA informant.

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controlled substances. including oxycodone. Beauchamp issues prescriptions by sending

electronic prescriptions directly to pharmacies using a secure e-prescription platform.

Additionally, SOL I stated that Beaucharnp stores medical records associated with the care he

provides his patients in three-differcnt electronic health records platforms.

        14.    SO1-1 stated that she/he wished to inforrn law enforcement that Beauchamp was

issuing controlled substances prescriptions to friends. fraternity brothers of his. and girlfriends of

his fraternity brothers, even though most of these recipients of prescriptions were not coming to

the office for examinations before receivinu. prescriptions. Additionally, Beauchamp was not

maintaining medical records associated with the treatment—by -treatment,- I mean

prescriptions—he was providing to these persons. SO1-1 stated that some of these persons had

no medical tiles at all in any of the databases associated with Beauchamp's practice. Others. said

SO1-1, did have tiles, but those files did not indicate that the patient had been seen by

Beauchamp in years. Moreover, SO1-1 stated that these persons names did not appear on sign-

in sheets because they did not corne to the office before receiving controlled substances

prescriptions. Instead, Beauchamp electronically sent to the pharmacies prescriptions for these

persons without the persons ever coming to the practice.

        15.      SOI-1 provided the names of six individuals who received controlled substances

prescriptions in this manner—in other words, without corning to the office and without, in the

view of SOI-1, being a "patient- in thc typical sense. SO1-1 also named S.M. as one of these

patients. However, according to S01-1. S.M. did occasionally come by the office. S01-1 stated

that S.M. lives in Atlanta.

        16.    SOI- I stated that pharmacies sometimes called the office and sought to verify

prescriptions issued to the above-named individuals and other persons who received controlled



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substances prescriptions in this manner. According to SOI-1, when a pharmacy called seeking to

verify a prescription issued to a -friend- of Beauchamp's (i.e., a fraternity brother, significant

other fraternity brother, or some other person having an out-of-office relationship with

Beauchamp), Beaucharnp personally spoke with the representative of the pharmacy and

authorized the prescription.

        17.    During the call, SO1-1 identified the following three companies as being used by

Beauchamp and Obelisk Healthcare to maintain medical records electronically: (I) Spring

Charts;(2) Practice Fusion; and (3) Patient Now.

C.     February 18, 2020 Interview with Source of Information

        18.    On February 18, 2020, I. along with other agents working with rne and two

Assistant United States Attorneys met with S01-1 at the United States Attorney's Office in

Montgomery.

        19.    During the interview, SO1-1 repeated the allegations she/he previously made

regarding Beauchamp.

       20.     She/He also further explained Beauchamp's use of medical records. She/He

stated that physical, paper files are maintained at the office for all patients. She/He reported that

information is transcribed, by a staff member. from the paper file into an electronic medical

record platform. She/He went on to state that: (1)from an unknown date, the practice used the

electronic health records platform, Spring Charts. to store electronic health records;(2) starting

around January 2017, the practice switched from Spring Charts to Practice Fusion to store

electronic health records and this platform was used by the practice from in or around .lanuary

2017 until in or around September 2019; and (3) in or around September 2019, the practice

switched from Practice Fusion to Patient Now for its electronic records storage and this platform



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is currently in use. According to SOI-1, each time the practice switched electronic health records

platforms, the only information migrated from one platform to the other was patient identifying

information. Information about medical office visits that occurred before the switching to a new

platform was not moved from the old platform to the new platform. In other words, to determine

whether there is a medical record to support a prescription issued by Beauchamp in 2016, one

would have to look in the Spring Charts database—such information would not exist in Practice

Fusion or Patient Now. Likewise. information about a prescription issued in 2018 could only be

found in Practice Fusion.

       21.     SOI-1 went on to state that electronic prescribing is done through the electronic

health records platform currently in use. Therefore, frorn in or about January of 2017 until in or

about September of 2019, all electronic prescribing was done through Practice Fusion. However,

since September of 2019, electronic prescribing for most patients has moved to Patient Now.

Nevertheless, according to SOI-1, when issuing a prescription for a -friencr—one of the people

described above who gets a prescription for a controlled substance without having to corne to the

office—Beauchamp continues to use the Practice Fusion systern. Beauchamp does so, according

to SOI-1, because he knows that the office staff is not accessing the Practice Fusion system on a

routine basis anymore and therefore cannot monitor what he is doing. Additionally, S01-1 made

clear that an electronic prescription cannot be done—through any computer systern—without

Beauchamp hirnself entering a code into either his phone or a computer. Therefore, according to

SOI-1, there is no way that the prescriptions described in this affidavit could be issued without

Beauchamp's knowledge and consent.

       22.     SOI-1 also stated that, sometimes pharmacies or insurance companies would

request to know the diagnoses associated with prescriptions Beauchamp was issuing to his



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`friends." Whenever this would occur, Beauchamp would state that the diagnosis was'low back

pain." I know from my training and experience that "lovv back pain" is a diagnosis commonly

used by physicians to justify illegitimate prescriptions for pain medications like oxycodone. This

is done because it can be difficult, even for a legitimate doctor, to diagnose a cause of low back

pain.

         23.   SOI- I added that, when 'friends" of Beauchamp came to the practice, from time

to time, staff members would question who the people were and why they were there.

Beauchainp would respond. "If I tell you to let someone in, get them in."

         24.   SOI-1 further stated that, in the summer of 2018, Beauchamp stopped being a

primary care and urgent care physician. He wanted to become a "med spa." As such, he began

to focus on: breast implants, tummy tucks. esthetics, and liposuction. He also began to operate a

gift shop in his practice where he sold scented candles and handbags and hired an esthetician

who does, among other things, facials. I3ased on this information. it does not appear that

Beauchamp should be prescribing monthly, long-term prescriptions for pain medications.

               Finally, SOI-1 provided names of additional people who were.according to her,

receiving from Beaucharnp routine prescriptions for 90 30-milligram oxycodone tablets without

having to be seen as patients and without having files. Such people included: T.C. and D.W.

D.       Evaluation of Criminal Histories and PDMP Reports of Fe bruary 18,2020 Patients

         26.   Thereafter, I and agents working with me obtained and evaluated criminal history

and PDMP reports associated with the patients identified by S01-1 during the February 18, 2020

interview, T.C. and D.W. The following summarizes findings as to T.C. and D.W.

         1.    D.W.




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           27.   D.W. has a date of birth of July 23, 1984. According to state records, he resides

in Montgomery.

           28.   The criminal history database did not indicate that D.W. had any prior criminal

history.

           29.   According to the five-year PDMP report, Beauchamp first wrote D.W. a

prescription on March 26, 2018. That prescription was for 90 30-milligram oxycodone tablets.

After that, Beauchamp wrote D.W. an identical prescription exactly once each month. The most

recent identical prescription was issued on April 17, 2020. In total, Beauchamp has issued D.W.

26 such identical prescriptions. D.W. filled those prescriptions at seven different pharmacies.

           30.   The PDMP report also indicated that D.W. received, in 2016, three short-term

(two- or three-day) prescriptions for hydrocodone. These prescriptions were issued by

physicians other than Beauchamp. And, in January of 2019. while he was receiving the

prescriptions from Beaucharnp, D.W. received a l-day prescription for five oxycodone tablets

from Dr. Brian N. Hassani, a Birmingham emer2ency medicine physician.

           2.    T.C.

           31.   T.C. has a date of birth of September 18, 1984. According to state records, she

resides in Montgornery.

           32.   The criminal history database did not indicate that T.C. had any prior criminal

history,

           33.   According to the PDMP report. on December II, 2017, T.C. received her first

prescription from Beauchamp—a prescription for 80 30-rnilligram oxycodone tablets. The next

month. on January 9, 2018, she received another prescription from Beauchamp--a prescription

for 90 30-milligrarn oxycodone tablets. Thereafter, T.C. received a prescription for 90 30-



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milligram oxycodone tablets each month, with the most recent prescription having been issued

on June 4. 2019—except that there was no prescription issued by Beauchamp in October of

2018. ln total, T.C. received 18 prescriptions for oxycodone from Beauchamp-17 of which

were 90-tablet prescriptions and 1 of which was an 80-tablet prescription. T.C. filled those

prescriptions at three different pharmacies.

       34.     The PDMP report did not reflcct that 'F.C. filled any other controlled substances

prescriptions in Alabama in thc last five years.

E.     Iss uance ofScare h Warrants for and Acquisition of Electronic Evidence

       35.     On February 21. 2020, a magistrate judge of this Court issued three search

warrants authorizing the seizure of electronic evidence related to the above-described case. Each

scarch warrant requested electronically stored patient files related to Beauchamp's treatment of

individuals identified by S01-1 as receiving illegitimate oxycodone prescriptions from

13eauchamp. One search warrant was directed to Spring Charts (the electronic records provider

from an unknown date until January of 2017, according to S01-1). The second was directed to

Practice Fusion (the electronic records provider from January of 2017 until in or around

September of 2019, according to S01-1). The third was directed to Patient Now (the electronic

records provider from in or around September of 2019 to the present, according to SO1-1). 1 and

agents working with me served each search warrant on or about February 24, 2020.

       36.     On or about Fcbruary 25. 2020, f received correspondence from Spring Charts

stating that Spring Charts was not in possession of any records responsive to the search warrant.

According to the president of the company, Spring Charts did have a business relationship with

13eaucharnp and/or Obelisk Healthcare, L.L.C. However, that business relationship did not allow

Beauchamp or the business to store medical records on any cloud-based server accessible by



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Spring Charts. Rather, accordin2 to company records, all records storage was done on some

other server, perhaps a server maintained at Beauchamp s office.

        37.     On or about March 6, 2020, I received frorn Practice Fusion, copies of electronic

records in the business's possession that were responsive to the search warrant. These records,

according to Practice Fusion, were associated with Beauchamp and were rnaintained on a

P ractice Fus ion c loud-based server.

        38.     On or about June 17, 2020, I received records from Patient Now. These records,

according to Patient Now, were associated with Beaucharnp and were maintained on a Patient

Now cloud-based server.

F.      Expert Evaluation ofPDMP Reports

        39.     During the past weeks, I consulted anindependent medical expert licensed to

practice medicine in the state of Georgia, Dr. Gene Kennedy. Dr. Kennedy has been qualified to

testify in federal court on numerous occasions regarding the appropriateness of controlled

substances prescriptions. He currently practices pain management, but previously maintained a

general practice.

        40.     Initially, I sent to Dr. Kennedy:(]) the PDMP reports associated with patients

named by S01-1; and (2) a report summarizing all of the controlled prescriptions Beauchamp

issued in the last year.

       41.      On or about March 10, 2020. I received a letter from Dr. Kennedy summarizing

his findings regarding the PDMP materials. The report is reproduced as follows:

        March 10, 2020

        S.A. Darryl Henton
        Drug Enforcement Administration
        Birmingham, Alabama



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 Dear Mr. Henton:                              RE: Case GL-20-0011

 I have reviewed the PDMP documentation pertaining to Dr. Beauchamp.

 In rny opinion, the reports contain sorne findings that may be indicative of the non-
 legitimate prescribing of scheduled medications.

 ln support of this assertion, I would note that of the individual patient PDMPs
 reviewed:

 •   All patients received oxycodone 30 mg on their initial encounter, as far as the
     provided PDMP shows. (Attachments A through R)
 •   All patients ultimately received oxycodone 30 mg,#90 per month.
 •   8 patients had received very short courses of lower dosage scheduled
      medications from other providers prior to presentation. (Attachments A
     through E, G, H)
 •    10 patients had NO previous oxycodone prescriptions present on their PDMP
     reports prior to presentation. (Attachments I through R)
 •   4 patients had prescriptions filled at an alarming nurnber of pharmacies.
     (Attachments G, L. N,O)

 The one year PDMP was extensive. The document was 117 pages long. With this
 in mind, 1 reviewed only up to the letter G, and have attached some examples of
 remarkable findings.

 I would note:

 • 2 patients with the surname of[A]frequently received scheduled medications
    within a day of each other, and occasionally on the same day. These
   medications included alprazolam, clonazepam and Suboxone. (Attachrnent S)
 • Patient [B] consistently        received simukaneous         prescriptions   for
   dextroamphetamine and phentermine. (Attachment T)
 • Patient [C] consistently received prescriptions for dextroamphetamine and
   alprazolarn. (Attachment U)
 • 3 patients who appear to be in the same family all received prescriptions for
   oxycodone 30 mg #90. At least 2 of these patients repeatedly received their
   prescriptions on the same day, and on one occasion, all 3 rcceived prescriptions
   on the same day (Attachment V)
 • 1 patient, [W.G.], consistently received simukaneous prescriptions for
   buprenorphine. Soma. Diazepam. Dronabinol and methylphenidate.
   (Attachment W)

                                  This is alarming.




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       It would be necessary to review individual patient charts to have a definitive, fully
       informed opinion as to whether these prescriptions were provided for a legitimate
       medical purpose and within the course of acceptable medical practice.

       However, based solely on the PDMP reports provided the prescribing pattern is not
       reflective of what would be expected to be prescribed in an ordinary practice.

       Please do not hesitatc to contact rne if you have any questions regarding my review
       of the PDMP reports.

       Sincerely,

       /s/Ciene S. Kennedy

       Gene S. Kennedy. M.D.

G.     Expert Evaluation of Medical Files

       42.     During the spring and summer of 2020, I sent to the medical expert, Dr. Kennedy,

copies of patient records maintained by Beauchamp and obtained by way of the search warrants

served on the electronic medical records providers. I asked him to review the records found in

the Patient Now and Practice Fusion databases pertaining to three patients. Dr. Kennedy selected

the records of, among others, T.C. and D.W.to review. He reviewed those records to assess

whether the oxycodone prescriptions written to those patients by Beauchamp were issued for

legitimate medical purposes and within the normal course of professional medical practice.

       43.     On or about July 1, 2020. 1 received a cover letter and reports from Dr. Kennedy.

Each report pertained to one of the patient files. Dr. Kennedy's findings are as set forth below.

       44.     As for the cover letter, it was dated June 28, 2020. It stated, in part, -In reviewing

the charts and PDMP documentation, I concluded that the scheduled prescriptions provided by

Dr. Beauchamp were issued outside the scope of usual medical practice for each of the 3 charts.

I also concluded that the scheduled prescriptions (oxycodone) were not provided for a legitirnate

medical purpose in each of the charts.- In the conclusion section of the letter, Dr. Kennedy



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summarized his findings, stating: -The prescribing demonstrated in the 3 medical charts

reviewed was perilous to the patients and to the community at large. outside the scope of usual

medical practice and not for a legitimate medical purpose."

       45.     In his report on the T.C. electronic files, Dr. Kennedy wrote, among other things:

(1)"There was no diagnostic assessment of this patient"; (2) although the patient presented with

a complaint of neck pain at her initial encounter, Beauchamp -did not do a neck examination";

(3) Beauchamp never documented a treatment rationale in the chart;(4) Beauchamp never

attempted to obtain past medical records; and (5) Beauchamp -provided an extraordinarily large

number of oxycodone prescriptions that are unaccounted for." At the conclusion of the report,

Dr. Kennedy stated,"As noted, this patient was provided with ongoing prescriptions for 30 mg

oxycodone pills without encounter notes, credible examinations or any support whatsoever. In

the absence of further, unreviewed physician documentation, in my view it would be impossible

to support the prescriptions provided."

       46.     In his report on the D.W.electronic files, Dr. Kennedy wrote, among other things:

(1) the physical examinations documented were not credible; (2) Beauchamp did not attempt to

obtain past medical records;(3) Beauchamp did not request diagnostic studies to determine the

cause of the -low back pain" reported by the patient; (4) Beauchamp "initiated oxycodone at 90

mg per day (135 MME) in an opioid naïve patient without a credible treatment rationale or

treatment plan." which Dr. Kennedy stated "was perilous"; and (5) Beauchamp "provided a large

nurnber of oxycodone prescriptions that [were] not discussed in messages or in encounter notes."

Dr. Kennedy concluded this report by stating that the prescriptions provided to D.W. by

Beauchamp **were outside the course of usual medical practice and were not prescribed for a

legitiinate medical purpose." He noted that these prescriptions ''represented a significant danger



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both to the patient and to the public at large," noting that la] fatal outcome would not have been

surprising."

H.     Search of Beauchamp's Office

       47.     On July 22. 2020, I and other agents executed a warrant issued by this Court to

search Beauchamp s medical practice. During that search. I attempted to locate patient files

associated with the treatment of T.C. and D.W.

       48.     In an attempt to locate such files. I asked Beauchamp where such files would be.

He directed me to a room and said that if the files were not in that room, they did not exist.

       49.     I and other agents, with the assistance of Beaucharnp's employees, attempted to

find physical files in that room associated with T.C. and D.W. After an exhaustive search, we

were unable to locate such files. Accordingly, it is probable that such files do not exist.

       50.     Accordingly, there are no records at Beauchamp's office that should cause Dr.

Kennedy to alter his conclusions about the legitimacy of the prescriptions to D.W. and T.C.

                                         CONCLUSION

       51.     Based on the forgoing, I request that the Court issue a two-count complaint. The

first count should charge that Beauchamp knowingly and intentionally distributed and dispensed

and caused to be distributed and dispensed to D.W..from on or about March 26. 2018 to on or

about April 17, 2020, oxycodone, a Schedule II controlled substance. for no legitimate medical

purpose and outside the normal course of professional medical practice, in violation of 21 U.S.C.

§ 841(a)(1). The second count should charge that Beauchamp knowingly and intentionally

distributed and dispensed and caused to be distributed and dispensed to T.C., from on or about

December 11, 2017 to on or about June 4, 2019, oxycodone, a Schedule II controlled substance,




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for no legitimate medical purpose and outside the normal course of professional medical

practice, in violation of 21 U.S.C. § 841(a)(1).


                                              Respect      uhmitted,



                                             4   scribed electro ically and sworn
                                             Su /1
                                             to telephonically on July 22, 2020.
                                             Darryl W. Henton
                                             Special Agent
                                             Drug Enforcement Agency


Sworn to before me this 22ndlay of July, 2020.


/s/ Susan Russ Walker
SUSAN RUSS WALKER
UNITED STATES MAGISTRATE JUDGE
MIDDLE DISTRICT OF ALABAMA




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